
*160The Supreme Court affirmed the judgment of the Common Pleas on May 21, 1883, in the following opinion:
Per Curiam.
This complaint is to the action of the Court in refusing to-open a judgment entered by confession on warrant of attorney. These plaintiffs in error did not give the note on which this judgment was entered on any agreement between them and the payee for usurious interest. One George Gump had given to the payee a note founded on a usurious consideration; but he never repudiated it, or sought to recover the amount thereof within six months after that note was paid. The note now in question was given by other parties, and was clearly a novation. The original note was not void; but only voidable at the will of the maker. As he did not elect to avoid it, he recognized his moral obligation to pay it. It was therefore a sufficient consideration to support the express obligation of the plaintiffs in-error to pay the note which they gave for the amount thereof. The learned judge was correct in refusing to open the judgment for the cause shown. If, however, he had erred, his action therein could not be reviewed on this writ of error. The only remedy under the Act of 4th of April, 1877, P. Laws 53, is by, an Appeal as in Equity.
Writ of error quashed.
